Case 16-33174-hdh11 Doc 318 Filed 11/02/17 Entered 11/02/17 16:09:13 Page 1of9

 

 

Monthly Operating Report

Accrual Basis

CASE NAME: Rincon Island Limited

CASE NUMBER: _ 16-33174-hdh-I1

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*

 

UNITED STATES BANKRUPTCY COURT
NORTHERN & EASTERN DISTRICTS OF TEXAS
REGION 6

MONTHLY OPERATING REPORT

MONTH ENDING: September 2017

MONTH YEAR

IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
PENALTY OF PERJURY THAT I HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
(ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY) IS BASED ON ALL
INFORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE.

RESPONSIBLE PARTY:

hh. < £- 4 11 Trustee

 

 

 

GRIGINAL SIGNATURE OF RESPONSIBLE PARTY TITLE
Jason Searcy /l- Z -/ 7
PRINTED NAME OF RESPONSIBLE PARTY DATE
PREPARER:
Ct he

ORIGINAL SIGNATURE OF PREVARER TITLE
Robert W. Peddy, CPA al, 217
PRINTED NAME OF PREPARER " "DATE

 

 

 

 
Case 16-33174-hdh11 Doc 318 Filed 11/02/17 Entered 11/02/17 16:09:13 Page 2 of 9

 

 

Monthly Operating Report

Accrual Basis - I

 

 

CASE NAME; Rincon Island Limited Partnership

   

 

 

 

 

 

 

COMPARATIVE BALANCE SHEET

CASH
CASH
. TOTAL CASH
_A RECEIVABLE
INVENTORY
NOTES RECEIV,
. PREPAID EXEPNSES
8. OTHER (ATTACH

9. TOTAL CURRENT ASSETS 240,005
TY. 709

11, LESS: ACCUMULATED DEPRECIATION/ | !

12. NET PROPERTY, PLANT & 19,221,625 19,221,625
13, DUE FROM

14, OTHER ASSETS - NET OF AMORTIZATION

ATTACH

15. OTHER (ATTACH 4,351 4,351,606

16, TOTAL ASSETS 23,589 23,657

IVA PAYABLE 387,341 387

18, TAXES PAYABLE - :

19, NOTES PAYABLE 927,456 927,456 927,456
20. PROFESSIONAL FEES : :

21, SECURED DEBT

22. ATTACH 97,003 36,584,453 754

23. TOTAL POSTPETITION LIABILITIES 31,71 31,899 32,088,913

24, SECURED 970
25. DEBT 9,016 9,016 9,016 9,016

26, UNSECURED DEBT 169. 145,607 145,607 145
27. OTHER (ATTACH 20,643,711 7 643,711 643,711
28. TOTAL PREPETITION LIABILITIES 85,078,061 185,054 185 185,054

, TOTAL LIABILITES 185,078,061 21 104 2] 217,143,217

1, POSTPETITION CUMULATIVE PROFIT OR 12,490,61

2, DIRECT CHARGES TO EQUITY (ATTACH
7, 17

TOTAL 193,177 193,295
TOTAL LIABILITIES & OWNERS' EQUITY 23,589,079 637,

 

 

 

 
Case 16-33174-hdh11 Doc 318 Filed 11/02/17 Entered 11/02/17 16:09:13 Page 3 of 9

 

 

Monthly Operating Report

Accrual Basis «2

 

CASE NAME: Rincon [stand Limited Partnership

    

 

 

 

CASENUMBER: __16-33174-hdh-11

 

 

INCOME STATEMENT

1, GROSS
2, LESS: RETURNS & DISCOUNTS
3, NET REVENUE

4. MA
. LABOR
DIRECT OVERHEAD
7, TOTAL COST OF GOODS SOLD
GROSS PROFIT

, OFFICER/INSIDER COMPENSATION
10. SELLING &
i. & ADMINISTRATIVE

RENT & LEASE
13, OTHER (ATTACH
14, FOTAL OPERATING 111,423 | $ 134,358 O14
15, INCOME BEFORE NON-OPERATING INCOME &

(103,716)] $ (121,877) $ (32,765)

16, NON-OPERA’ ATTACH 33111 $ li
i. FING EXPENSE ACH
18. INTEREST EXPENSE
19. DEPRECIATION/DEPLETION
. AMORTIZATION
1, OTHER (ATTACH
NET OTHER INCOME &

PROFESSIONAL FEES
U FEES
_ OTHER (ATT.
26, ‘AL REORGANZTION EXPENSES
27, INCOME TAX
NET PROFIT 103,783)| $

 

 

 

 
Case 16-33174-hdh11 Doc 318 Filed 11/02/17 Entered 11/02/17 16:09:13 Page 4of9

 

 

Monthly Operating Report

Accrual Basis - 3

 

 
 

CASE NAME: Rincon Island Limited Partnership — |

 
 
     

 

 

 

CASE NUMBER:

  

16-33174-hdh-1

 

RECEIPTS AND DISBURSEMENTS July 2017 August 2017 | September 2017
1. CASH - BEGINNING OF MONTH $ 5,637 | $ 774

SALES

POSTPETITION
§. TOTAL OPERATING RECEIPTS

LOANS & ATTACH 157,414
7, SALE OF ASSETS
8, OTHER (ATTACH 8 “
9, TOTAL NON-OPERATING RECEIPTS 189,221 157,414
10, TOTAL RECEIPTS 199 157,414
il, TOTAL CASH AVAILABLE 205,021 224,188

PAYROLL 1
13, PAYROLL TAXES PAID
14, BANK CHARGES
15, CONTRACT OPERATING SERVICES
16. DIRECT MARKETING SERVICES
17, PERMITS
18. INVENTORY PURCHASES
19, VEHICLE EXPENSES
. TRAVEL
{. ENTERTAINMENT
REPAIRS & MAINTENANCE
. SUPPLIES
4, LOANS & ADVANCES
. OTHER (ATTACH
TOTAL OPERATING DISBURSEMENTS

OFESSIONAL
U.S. TRUSTZE FEES
, OTHER (ATTACH
30. TOTAL REORGANIZATION EXPENSES
31. TOTAL DISBURSEMENTS
32. NET CASH FLOW
33. CASH - END OF MONTH

 

 

 
Case 16-33174-hdh11 Doc 318 Filed 11/02/17 Entered 11/02/17 16:09:13 Page 5of9

 

 

Monthly Operating Report

Accrual Basis - 4

 

 

CASE NAME Rincon Isiand Limited Partnership

 
     

 

 

CASENUMBER:  16-33174-hdh-11

 

MONTH: September

SCHEDULE July 2017 August 2017 September 2017
AMOUNT
0-30 $ 10,211 | $ 17,978 | $ 36,943
31 - 60
61-90
OL +
. TOTAL ACCOUNTS RECEIVABLE $ - {[§ 10,211 | $ 17,978 | $ 36,943
. AMOUNT CONSIDERED UNCOLLECTIBLE
, ACCOUNTS RECEIVABLE (NET) 5 “ § 10,211 | $ 17,978 | § 36,943

 

ACCOUNTS RECEIVABLE AGING

 

 

 

 

 

 

 

 

 

 

 

 

 

Sys ]e]FJ2]8]-

 

 

AGING OF POSTPETITION TAXES
AND PAYABLES 0-30 31-60 61-90 90+ Total
TAXES PAYABLE DAYS DAYS DAYS DAYS
. FEDERAL $ .
. STATE $ :
_ LOCAL

. OTHER (ATTACH LIST}
. TOTAL TAXES PAYABLE $ -_ [$ : 5 -— ~ [§ :

 

 

 

 

 

 

 

 

 

 

 

Cn | de Pn Eb fee
GF | ed | 69 tL oe
‘

 

 

 

 

 

[6. ACCOUNTS PAYABLE 19,162 | 19} 78,152 } 309,189 | § 406,522 |

 

STATUS OF POSTPETITION TAXES

 

BEGINNING AMOUNT ENDING
TAX WITHHELD AMOUNT TAX
FEDERAL LIABILITY | OR ACCRUED PAID LIABILITY

. WITHHOLDING

. FICA-EMPLOYEE

. FICA-EMPLOYER
UNEMPLOYMENT
INCOME

. OTHER {ATTACH LIST)
7, TOTAL FEDERAL TAXES $ - $ = $ -
STATE AND LOCAL
&. WITHHOLDING $ .
9, SALES

10. EXCISE

if, UNEMPLOYMENT

12. REAL PROPERTY

13, PERSONAL PROPERTY
14. OTHER (ATTACH LIST)
15. TOTAL STATE & LOCAL § :
16. TOTAL TAXES $ : $ * $ :

 

 

 

 

GF] oF | GF | ae

 

 

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Case 16-33174-hdh11 Doc 318 Filed 11/02/17 Entered 11/02/17 16:09:13 Page 6 of 9

 

 

 

 

 

 

 

 

 

BANK RECONCILIATIONS

Acct #1

Acct #2

Monthly Operating Report

Acct #3

Accrual Basis - 5

 

. BANE:

TB&T

 

. ACCOUNT NUMBER:

9683

 

, PURPOSE (TYPE}:

General Checking

TOTAL

 

. BALANCE PER BANK STATEMENT

$ 203,062

203,062

 

ADD: TOTAL DEPOSITS NOT CREDITED

 

SUBTRACT: OUTSTANDING CHECKS

$

 

OTHER RECONCILING ITEMS

oO | Ge | at 1 a4] 65

 

. MONTH END BALANCE PER BOOKS

$ 203,062

203,062

 

SA7=]]8]-Jole]>

. NUMBER OF LAST CHECK WRITTEN

1002

 

 

INVESTMENT ACCOUNTS

 

 

BANK, ACCOUNT NAME & NUMBER

DATE OF
PURCHASE

TYPE OF
INSTRUMENT

PURCHASE
PRICE

CURRENT
VALUE

 

7.

 

g.

 

9

 

i0.

 

11, TOTAL INVESTMENTS

 

 

 

 

 

 

CASH

 

 

 

12. CURRENCY ON HAND

1$

|

 

[13. TOTAL CASH - END OF MONTH

1$

203,062 |

 

 
 

Case 16-33174-hdh11 Doc 318 Filed 11/02/17 Entered 11/02/17 16:09:13 Page 7 of 9

 

Monthly Operating Report
Accrual Basis - 6

 

CASE NAME: Rincon Istand Limited Partnership

 

 

    

 

  

 

 

 

 

CASE NUMBER: 16-33174-hdh-11

 

 

MONTH: September

 

{PAYMENTS TO INSIDERS AND PROFESSIONALS f

TYPE OF PA AMOUNT PAID PD TO DATE

PAYMENTS TO INSIDERS

DATE OF COURT ORDER AMOUNT PAID INCURRED
AUTHORIZING PAYMENT APPROVED TO DATE & UNPAID

‘AL PA

[POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE PROTECTION PAYMENTS }

SCHEDULED AL
MONTHLY PAID UNPAID
NAME OF CREDITOR PAYMENTS DURING POST-
DUE MONTH PETITION

 

 

 

 
Case 16-33174-hdh11 Doc 318 Filed 11/02/17 Entered 11/02/17 16:09:13 Page 8 of 9

 

Monthly Operating Report

Accrual Basis -7

2017

 

CASE NAME; Rincon Island Limited Partnership

 

    

 

 

 

CASE NUMBER:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

16-33174-hdhel t
MONTH: = ___September
QUESTIONNAIRE
YES NO

1. HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE x

THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?
2 FIAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT

OTHER THAN A DEBTOR IN POSSESSION ACCOUNT? x
3. ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES OR

LOANS) DUE FROM RELATED PARTIES? x
4, HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES

THIS REPORTING PERIOD? x
5. HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE

DEBTOR FROM ANY PARTY? x
& ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?
7 ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES

PAST DUE?
BARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE? X
9. ARE ANY OTHER POSTPETITION TAXES PAST DUE? X
10. ARE ANY AMOUNTS OWED TO POSTPETITION CREDITORS

DELINQUENT?
11, HAVE ANY PREPETITION TAXES BEEN PAID DURING THE

REPORTING PERIOD?
12, ARE ANY WAGE PAYMENTS PAST DUB?

 

 

 

 

IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS “YES", PROVIDE A DETAILED
EXPLANATION OF BACH ITEM, ATTACH ADDITIONAL SHEETS IF NECESSARY.

 

 

 

[INSURANCE

I. ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
NECESSARY INSURANCE COVERAGES IN EFFECT?

2, ARE ALL PREMIUM PAYMENTS PAID CURRENT?
3, PLEASE ITEMIZE POLICIES BELOW

 

 

 

 

 

 

 

 

 

 

IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO" OR IF ANY POLICIES HAVE
BEEN CANCELED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN
EXPLANATION BELOW. ATTACH ADDITIONAL SHEBTS IF NECESSARY.

 

 

 

INSTALLMENT PAYMENTS

TYPE OF
POLICY COVERED

 

 

 

 
Case 16-33174-hdh11 Doc 318 Filed 11/02/17 Entered 11/02/17 16:09:13 Page 9of9

 

Monthly Operating Report
Accrual Basis - 1

 

 

   

CASE NAME: Rincon Island Limited Partnership
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CASE NUMBER:

 

TTACHMENT

OTHER
§ Escrow Fund
§
§
TOT. ASSETS

OTHER LIABILITES

Accrued Axes il .
Loas Interest 9,826,732 9 732 9,820,732

Due Affiliate - Loan i4. 474 14,739,4 14,739,474
Due Affiliate 5,787 5,794,917

Accrued axes 1 1 19

UBS 185.
27,788 33,796

453

TING EXPENSE -
13 General
13 & Taxes
13

OTHER INCOME & EXPENSES
16
6 Accounts Receivable
1 Income Tax

TING RECEIPTS
/ Notes 157,414

OPERA
Lease

Rentals
Outside Services

D CHARGES TO EQUITY
Value in Accordance GAAP 269,650
for Prior Period 1
Liabilites-Related

OPEX as 4
Loan to Actual 14,739 14,739,474

731
I

BDO 2016 Audit 754
TRECT 7 17

 

 

 
